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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Richmond Division

MARGIE COLE,
        As Administratrix ofthe Estate
        of Stuart Cole, deceased, et al
                      Plaintiff,

                                                   Civil Action No. 3:19-CV-0004-HEH

WAL-MART STORES EAST,LP,
and WALMART,INC.,

                      Defendants.

                               MEMORANDUM OPINION
                       (Granting Defendants' Motion to Dismiss)

       This matter is before the Court on Defendants' Plea in Bar (the "Motion")(ECF

No. 1 Ex. B), which the Court will construe as a Motion to Dismiss. Margie Cole

("Plaintiff) asserts several claims on behalf of her deceased son, Stuart Cole ("Cole"),
which stem from his assault in a store parking lot owned by Wal-Mart Stores East, LP,

and Walmart, Inc.("Defendants"). For the reasons stated below, the Motion will be

granted.

                                    I. BACKGROUND

       On the night of August 22,2011, Cole went to the Walmart Supercenter located at

1800 Carl D. Silver Parkway in Fredericksburg, Virginia. (Am. Compl. IK 1, 8.) While
Cole was in the store, several large men approached and harassed him. {Id. at        9-11).
Cole informed store employees ofthe incident and his concerns for his personal safety.
{Id. at KK 12—14.) Plaintiff alleges that, after Cole returned to the parking lot, two cars
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blocked the path of his car. (Id. at    16-18.) Then,the same men who harassed Cole in

the store viciously attacked him. (Id. at    19-21.)

       Following the attack, and based on the extent of his injuries. Cole was placed in a

medically-induced coma. (Id. at T[ 25.) He was diagnosed with a traumatic brain injury,

which resulted in seizures that he endured for several years. (Id. at    2-26.) Cole died

four years later, on December 15, 2015,from a stroke and seizures, which were allegedly

caused by the injuries that he sustained on August 22,2011. (Id. at H 30.)

       Cole's mother, the Plaintiff and Administratrix of his estate, filed the Complaint in

Virginia state court on December 14,2017, and on November 27, 2018, she filed an

Amended Complaint. Plaintiff brings two claims:(i) a wrongful death claim and (ii) a

claim alleging that Defendants failed to provide security for an invitee. On December 26,

2018, Defendants filed their Answer,Plea in Bar, and Demurrer. Defendants then

removed the matter to this Court on January 3, 2019.

                              II. STANDARD OF REVIEW

       The Court will review Defendants' Plea in Bar and Demurrer as a Motion to

Dismiss pursuant to Fed. R. Civ. P. 12(b)(6). See McCray v. Ardelle Assocs. Inc., No.

4:14-CVL-58,2015 WL 3886318, at *1 (E.D. Va. June 23,2015)(construing a Plaintiffs
Plea in Bar and Demurrer as a Motion to Dismiss); Noel-Batiste v. Va. State Univ., No.

3:12-CV-826-HEH,2013 WL 499342, at *1 n.l (E.D, Va. Feb. 7, 2013)(same). "A
motion to dismiss under Rule 12(b)(6)tests the sufficiency of a complaint; importantly, it
does not resolve contests surrounding the facts, the merits of a claim, or the applicability
of defenses." Republican Party ofN.C. v. Martin,980 F.2d 943,952(4th Cir. 1992)
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(citation omitted). The Federal Rules of Civil Procedure "require[] only 'a short and

plain statement ofthe claim showing that the pleader is entitled to relief,' in order to

'give the defendant fair notice of what the... claim is and the grounds upon which it

rests.'" BellAtl Corp. v. Twombly,550 U.S. 544, 555(2007)(quoting Conleyv. Gibson,

355 U.S. 41,47(1957)). A complaint need not assert "detailed factual allegations," but

must contain "more than labels and conclusions" or a "formulaic recitation of the

elements of a cause of action." Twombly, 550 U.S. at 555 (citations omitted). Thus,the

"[f]actual allegations must be enough to raise a right to relief above the speculative

level," id. (citation omitted), to one that is "plausible on its face," id. at 570, rather than

merely "conceivable." Id. In considering such a motion, a plaintiffs well-pleaded

allegations are taken as true and the complaint is viewed in the light most favorable to the

plaintiff. T.G. Slater, 385 F.3d at 841 (citation omitted). Legal conclusions enjoy no

such deference. Ashcroft v. Iqbal, 556 U.S. 662,678(2009).

                                      III. DISCUSSION

       When reviewing a 12(b)(6) motion, the Court "generally cannot reach the merits

of an affirmative defense, such as the defense that the plaintiffs claim is time-barred,"

however, the Court may consider an affirmative defense when there are sufficient facts

alleged in the complaint to address the issues raised. Goodman v. Praxair, Inc., 494 F.3d

458,464(4th Cir. 2007). In their Plea in Bar, Defendants assert that Plaintiffs claims are

time barred because the statute of limitations on the underlying personal injury claim has
expired. The Court agrees with Defendants that Plaintiffs claim is time barred, and

therefore, the Motion will be granted.
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        Virginia law does not create a new cause of action under § 8.01-50; it merely

passes the right to sue to a representative after death. Miller v. United States, 932 F.2d

301, 303(4th Cir. 1991). A personal representative, therefore, can only bring a wrongful

death claim if a viable personal injury claim existed when the victim died. Va. Code

Ann. §§ 8.01-50, 8.01-244(A). Thus,the requisite cause of action vests in the victim

before death, and after death, a personal representative is only bringing this claim on

behalf ofthe deceased. Horn v. Abernathy, 343 S.E.2d 318, 323(Va. 1986). In other

words, to maintain "a wrongful death action(1)the death of a person [must be] caused by
a wrongful act, neglect, or default, etc., and (2)the act, neglect or default be such as

would, if death had not ensued, have entitled the party injured to maintain an action for

personal injuries." Lawrence v. Craven Tire Co., 169 S.E.2d 440,441 (Va. 1969)

(internal quotations omitted).

       In this case, the alleged assault occurred in 2011, and Cole did not file a lawsuit

prior to his death in 2015.^ The statute oflimitations for any personal injury claim

arising from this incident ran by 2013 due to the two-year time limit for filing. See §§

8.01-230, 8.01-243. Thus, Plaintiff cannot assert this cause of action as Cole's personal

representative under § 8.01-50 and § 8.01-244. Therefore, while Plaintiff filed the initial

Complaint within the two-year extension allotted to personal representatives to bring a

claim on a decedent's behalf, see Va. Code Ann. § 8.01-244(B); here. Plaintiffs cause of

action did not survive Cole's death because the underlying claim had already expired.


^ Under Va. Code Ann. § 8,01-230, the statute oflimitations begins on the date ofinjury and,
under Va. Code Ann.§ 8.01-243, it only runs for two years in personal injury actions.
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                                 IV. CONCLUSION

      In sum,the Court finds that Plaintiffs claim is time barred and, consequently, the

Motion will be granted. An appropriate Order will accompany this Memorandum

Opinion.

                                                            /s/
                                               Henry E. Hudson
                                               Senior United States District Judge

Date:OyiargL 9^ 2ol^
Richmond, Virginia
